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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

WESLEY CORPORATION                           )
                                             )      Case No. 1:20-cv-6610
v.                                           )
                                             )      Hon. Steven C. Seeger
THE PARTNERSHIPS and                         )
UNINCORPORATED ASSOCIATIONS                  )
IDENTIFIED ON SCHEDULE “A”                   )
                                             )


                                FINAL JUDGMENT ORDER

       This action having been commenced by Plaintiff, Wesley Corporation (“Wesley”),

against the defendants operating the websites/webstores identified on Schedule “A” to Plaintiff’s

Complaint (collectively, the “Infringing Webstores”), and Plaintiff having moved for entry of

Default and Default Judgment against the defendants not already dismissed, identified in

Appendix “A” (collectively, the “Defaulting Defendants”);

       This Court having entered upon a showing by Plaintiff a temporary restraining order and

preliminary injunction against Defaulting Defendants;

       Plaintiff having properly completed service of process on Defaulting Defendants,

providing notice via e-mail, along with any notice that Defaulting Defendants received from the

ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under

all circumstances to apprise Defaulting Defendants of the pendency of the action and affording

them the opportunity to answer and present their objections; and

       Defaulting Defendants having failed to answer the Complaint or otherwise

plead, and the time for answering the Complaint having expired;
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       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants because Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Infringing Websites through which Illinois residents can purchase products bearing

counterfeit versions of the STUFZ mark (U.S. Reg. No. 4164154).

       The registration is valid, unrevoked, and uncancelled. Defendants use the mark and

display images protected by trademark and copyright on the infringing websites without

Plaintiff’s permission or consent.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), copyright infringement (17 U.S.C. § 501), and violation of the Illinois

Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that

       1. Those in privity with Defaulting Defendants and with actual notice of this Order,

including ecommerce platform providers, such as Alibaba, AliExpress, Amazon, eBay, Wish,

etc., shall within three (3) business days of receipt of this Order:

           a. disable and cease providing services for any accounts through which Defaulting

               Defendants, in the past, currently or in the future, engage in the sale of goods

               using the STUFZ trademarks, including, but not limited to, any accounts




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               associated with the Defaulting Defendants listed on Schedule “A” not dismissed

               from this action; and

           b. disable any accounts linked to Defaulting Defendants, linked to any e-mail

               addresses used by Defaulting Defendants, or linked to any of the Infringing

               Webstores.

       2. Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiff is awarded statutory damages from each

of the Defaulting Defendants in the amount of Ten Thousand Dollars (U.S.) and No Cents

($10,000.00) for using counterfeit STUFZ trademark and trade dress on products sold through at

least the Infringing Webstores. As to each Defaulting Defendant, until such Defaulting

Defendant has paid in full the award of statutory damages against it:

           a. Alibaba, AliExpress, Amazon, eBay, Wish (collectively the “Platforms”) and

               PayPal, Payoneer, WorldFirst, World First Asia Limited, World First Markets

               Limited, World First USA, Inc., Bill.com, Pingpong, Payeco, Umpay/Union

               Mobile Pay, Moneygram, Western Union, and any of their subsidiaries

               (collectively the “Payment Processors”) shall, within two (2) business days of

               receipt of this Order, permanently restrain and enjoin any accounts connected to

               Defaulting Defendants, Defaulting Defendants’ Infringing Webstores identified in

               Schedule “A,” except those dismissed, from transferring or disposing of any

               money or other of Defaulting Defendants’ assets.

           b. All monies currently restrained in Defaulting Defendants’ financial accounts,

               including monies held by the Platforms or the Payment Processors, are hereby

               released to Plaintiff as partial payment of the above-identified damages, and are

               ordered to release to Plaintiff the amounts from Defaulting Defendants’ Platform




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              or Payment Processor accounts within ten (10) business days of receipt of this

              Order.

          c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or

              the Payment Processors in the event that any new accounts controlled or operated

              by Defaulting Defendants are identified. Upon receipt of this Order, the Platforms

              or the Payment Processors shall within five (5) business days:

              i. Locate all accounts and funds connected to Defaulting Defendants and

                   Defaulting Defendants’ Infringing Webstores, including, but not limited to,

                   any accounts connected to the information listed in Schedule “A” of the

                   Complaint and any e-mail addresses provided for Defaulting Defendants by

                   third parties under the TRO;

              ii. Restrain and enjoin such accounts or funds from transferring or disposing of

                   any money or other of Defaulting Defendants’ assets; and

              iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff

                   as partial payment of the above-identified damages within ten (10) business

                   days of receipt of this Order.

       3. Plaintiff may pursue collection of this judgment as provided in the Federal Rules of

Civil Procedure.

       IT IS SO ORDERED.


Date: March 12, 2021

                                                        Steven C. Seeger
                                                        United States District Judge




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                                        Appendix A

Doe #                     Merchant Name                                          Merchant ID
1                         Ningbo Baice Intelligent Technology Co., Ltd.          decahome
2                         Quanzhou HYFS Industry & Trade Co., Ltd.               hongyigroup
3                         Yiwu Kaiding E-Commerce Ltd.                           kaiding1
                          Shanghai Ta World & Longbinary Business Service Co.,
4                         Ltd.                                                   lanbai
5                         Ningbo Juyi Import & Export Co., Ltd.                  maxseller
6                         Ningbo Fine Source Imp&Exp Co., Ltd. Trading Company   nbfengxing
7                         Ningbo Holly Imp. & Exp. Co., Ltd.                     nbholly
9                         Shenzhen Pangniu Technology Limited                    puluz1
10                        Ningbo Senseng Manufacture & Trade Group Co., Ltd.     sensengplastic
11                        Yiwu Senso Household Goods Co., Ltd.                   sensowell
12                        BestHomeGarden                                         1361279
14                        Domyhome Store                                         2226043
15                        AREYOUCAN Store                                        2343348
16                        Lake Side Store                                        2674047
17                        IYouNice Store                                         2693028
18                        EMAKA Store                                            2712015
19                        KAYCROWN Store                                         2785013
20                        FOREST HOUSE Store                                     2793104
21                        GoodMood Store                                         2944038
22                        HOMEVISION DECOR Store                                 2946228
23                        SBLE Sanitary Ware Store                               3047025
24                        HelloKIMI Store                                        3089116
25                        Handsome Store Store                                   3206145
26                        OneHome Store                                          3547003
27                        Homes&Life CO.,LT D Store                              3626002
28                        POSEPOP Sanitary Ware Store                            3631175
29                        NewColorKithen Store                                   3716003
30                        Family in Store                                        4041083
31                        TOPFENG Harvest Store                                  4429180
32                        PandaFamily Dropshipping Pro Store                     4673059
33                        SEAAN Official Store                                   5056090
34                        Co-co'sPet Store                                       5082398
35                        Ywksfamily Store                                       5233033
36                        Dreamer Life Museum Store                              5606112
37                        PigPig                                                 A10M9FIWNULXB
38                        Bonaweite                                              A1WGWVMR8WSVA
39                        Sumonrat Boondol                                       A22DVSSCGODSCV
41                        MartialQC                                              A2PC16ATZ36H1J
42                        Eric's department store                                A2PNA6IECU8C8
43                        YUXINMAOYI                                             A35OVHTQHPPFG7
44                        Artwork decoration                                     A370ZHHAG9SVII


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45                               Worldshops                         A3A3GOUY3X55Y5
46                               SvendG.                            A2SWJIE7Y6I3Z1
47                               SHENGLUO                           A2U2D3OY1POE4P
48                               WiSiRi                             A2NEBK3LQJWUCS
49                               Longhairdog                        14334413
50                               Ewin24                             14772852
51                               Augustsmoke                        16703652
52                               Fashion_pillows                    19874601
53                               Jackwang07                         20056508
54                               Erikaning                          20071204
55                               Binfengchen                        20505286
56                               Mp917                              20513328
57                               Lotlot                             20530260
58                               Homeju                             20601060
59                               Heqishengcai50                     20603197
60                               Rabbit0701                         20637389
61                               Gl8888                             21333800
62                               Buycheapsdhgate                    21511871
63                               Qianandhgate                       21511973
64                               Qiananclothings                    21511978
65                               Enbabyhomes                        21511988
66                               Globaltradingco                    21523315
67                               Gowdesigner                        21524175
70                               ebuytrade / ebuystars              ebuytrade
71                               evelino1974                        evelino1974
72                               fashiondeals18                     fashiondeals18
73                               faylisvow002                       faylisvow002
74                               hatimali48                         hatimali48
76                               skystarshop                        skystarshop
77                               svha1390                           svha1390
78                               tesas331                           tesas331
79                               xinyueda2018                       xinyueda2018
80                               yfxcreateshop                      yfxcreateshop
81                               zh-jiaxingtrading                  zh-jiaxingtrading
131                              niezhao Shop                       5538abd181a0bb0c4710bdf1
132                              fashionstore2u                     578b9b2350754b0b96db91fb
133                              doodercooker                       57bacd63338a1318dfb5f28a
134                              ebuy321                            5de4c861ce98c10fc02e19f4
105, 112, 116, 129               dab.wears                          dab.wears
68, 89                           asm-marketing                      asm-marketing
69, 83, 90, 94, 101, 104, 115,
120                              boutiqueshopstory                  boutiqueshopstory




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82, 85, 88, 93, 97, 100, 103,
108, 111, 114, 119, 123, 126,
128                              3star_traders                      3star_traders
84, 86, 91, 95, 98, 102, 106,
109, 117, 121, 124               sautto2008                         sautto2008
87, 92, 96, 99, 107, 110, 113,
118, 122, 125, 127, 130          tecsstyle                          tecsstyle




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